
Opinion bt
Head, J.,
In refusing the defendant’s motion for judgment non obstante veredicto and directing judgment to be entered on the verdict, the learned judge of the common pleas filed an elaborate and convincing opinion. In it he reviews separately and fully each one of the legal points *364advanced by the appellant as ground for a reversal of the judgment.
After an examination of the entire record and due consideration of the arguments of counsel, we are all of opinion the case was properly tried and the judgment should not be disturbed. To undertake to here set forth the reasons that lead us to this conclusion would be to do again what has been done by the learned trial judge. We therefore adopt his opinion. The assignments of error are overruled.
Judgment affirmed.
